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 7                                     UNITED STATES DISTRICT COURT
 8                                    EASTERN DISTRICT OF CALIFORNIA
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      GERALD CARLIN, JOHN RAHM, PAUL
10    ROZWADOWSKI and DIANA WOLFE,                                 Case No. 1:09-cv-00430-AWI-EPG
      individually and on behalf of themselves and all
11    others similarly situated,                                   ORDER GRANTING IN PART AND
                                       Plaintiffs,                 DENYING IN PART AMENDED
12    v.                                                           REQUEST TO SEAL EXHIBITS TO THE
                                                                   JOINT STATEMENT REGARDING
13    DAIRYAMERICA, INC., and CALIFORNIA                           PARTIES’ DISCOVERY DISPUTES AND
      DAIRIES, INC.                                                FILE REDACTED VERSIONS
14                             Defendants
                                                                   (Doc. 465)
15

16
              This matter comes before the Court on Defendant DairyAmerica, Inc.’s
17
      (“DairyAmerica”) Amended Request to Seal Exhibits A, C, E, and H to the Joint Statement
18
      Regarding Parties’ Discovery Disputes and File Redacted Versions. (ECF No. 465).
19
              On August 9, 2017, the Court denied a prior request to seal these same documents, and
20
      found that DairyAmerica failed to make a particularized showing that good cause exists to seal
21
      the requested documents.1 (ECF No. 464).
22
              DairyAmerica filed the instant amended request on August 11, 2017. Having considered
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      the Amended Request (ECF No. 465), papers submitted in support and opposition, and good
24
      cause appearing, the Request is GRANTED in part and DENIED in part.
25
              The Court finds good cause for redactions to information meeting the definition of Rule
26
      26(c)(1)(G) of the Federal Rules of Civil Procedure (i.e. trade secrets or other confidential
27

28            1
               The Court incorporates by reference the legal standards applicable to this request as provided in the
       August 9, 2017 order.
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 1    research, development, or commercial information). Although the Court is not entirely sure why

 2    this information is necessary to resolve the pending discovery disputes, it will permit these

 3    redactions at this time.

 4               The Court does not find sufficient justification for any other redactions. In addition to the

 5    reasons provided in the August 9, 2017 order concerning the Court’s intention regarding briefing

 6    of the pending discovery disputes, the Court finds that the other reasons provided by

 7    DairyAmerica do not provide good cause to grant the request. For instance, it is not sufficient

 8    that documents have been filed under seal previously or that a document should filed under seal

 9    because it has been marked as confidential by a party or third-party.

10               The Court also notes that DairyAmerica submitted “a portion of the English Declaration

11    and Exhibit 2 were submitted in camera to preserve protection of privilege.” (ECF No. 465, p. 4-

12    5). The Court is not ordering that in camera submissions be filed, so the request to seal them

13    when filed is moot.2

14               Accordingly, the Court GRANTS in part and DENIES in part the Amended Request to

15    Seal as follows:

16               1. DairyAmerica shall file their briefs and exhibits no later than three (3) days following

17                   this order;

18               2. DairyAmerica may redact information meeting the definition of Rule 26(c)(1)(G) of
19                   the Federal Rules of Civil Procedure; and

20               3. DairyAmerica shall provide a declaration to epgorders@caed.uscourts.gov supporting

21                   the sensitive confidential nature of the redacted information within thirty (30) days of

22                   this order.

23
      IT IS SO ORDERED.
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25          Dated:       August 15, 2017                                     /s/
                                                                    UNITED STATES MAGISTRATE JUDGE
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      2
28        That said, the Court never solicited or agreed to consider material in camera regarding this motion, and does not
          agree to consider such material in its decision.
                                                                                                                              1
